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                        EXHIBIT R




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                                    Exhibit R
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  Law Office of Cecilia Chen                                                       1901 First Avenue, Suite 217B
                                                                                   San Diego, California 92101
                                                                                   _______________________

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                                                                                   Telephone (858) 633-0171
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                                                                                   www.cclegalgroup.com
  February 11, 2015
                                                                                   Cecilia Chen, Esq.
                                                                                   cchen@cclegalgroup.com
  VIA CERFIED MAIL AND EMAIL: ttliu@tonyliulaw.com

  Tony T. Liu, Esq.
  Law Offices of Tony T. Liu
  1851 E. First Street, Suite 900
  Santa Ana, CA 92705

         RE:      Demand for Payment Owed

  Dear Mr. Liu,

  As you know, my office represents Crafty Productions, Inc. (“CPI”) and Crafty Productions,
  LLC (“Company”). Your client Fuqing Sanxing Crafts Co. (“FSC”) and CPI entered into a
  Contribution Agreement dated February 11, 2014 (“Contribution Agreement”) for the purchase
  of a 33% ownership interest in the Company.

  Pursuant to Section 1.14 of the Contribution Agreement, FSC agreed to contribute $100,000 to
  the Company on or before December 1, 2014. This payment is now past due and FSC is in
  material breach of the Contribution Agreement.

  In addition, FSC must provide to the Company a quarterly sales report listing all sales of
  products sold under the non-exclusive license granted pursuant to Section 1.6 of the Contribution
  Agreement. To date, we have not received any sales report or received any royalty payment.

  We request that FSC cure its default immediately and make the contribution amount of $100,000
  to the Company and provide the sales report within the next ten (10) days.

  Sincerely,




  Cecilia Chen

  cc:    Paula Mellos, Stephen Lobbin
